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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                        )      CHAPTER 11
                                              )
AREU STUDIOS, LLC,                            )
                                              )      CASE NO. 20-71228 PMB
         Debtor.                              )

                           NOTICE OF ENTRY OF APPEARANCE

         COME NOW Michael D. Robl, Shannon D. McDuffie and Robl Law Group LLC and enter

their appearance in the above-styled case on behalf of Spot on Content LLC, and request that they

be served with copies of all pleadings, orders, notices, reports, and other documents filed in the

above-styled case.

         This entry of appearance and request for service does not constitute consent to service of

adversary proceedings or contested matters, consent to venue or jurisdiction, or a waiver of

objections to venue, personal jurisdiction, subject matter jurisdiction, or to the extent of

Constitutional jurisdiction of the Court.

         This 30th day of December, 2020.
                                              ROBL LAW GROUP LLC

                                              /s/ Michael Robl
                                              Michael D. Robl
                                              Georgia Bar No. 610905
                                              Shannon D. McDuffie
                                              Georgia Bar No. 187808

3754 Lavista Road, Suite 250
Tucker, GA 30084
(404) 373-5153 (telephone)
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                      )      CHAPTER 11
                                            )
AREU STUDIOS, LLC,                          )
                                            )      CASE NO. 20-71228 PMB
         Debtor.                            )

                                CERTIFICATE OF SERVICE

        I hereby certify that I have on this day electronically filed the foregoing NOTICE OF
ENTRY OF APPEARANCE using the Bankruptcy Court’s Electronic Case Filing program,
which sends a notice of this document and an accompanying link to this document to the following
parties who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing
program:

   •     Aaron R. Anglin aanglin@joneswalden.com, jwdistribution@joneswalden.com
   •     Matthew R. Brooks matthew.brooks@troutmansanders.com
   •     Cameron M. McCord cmccord@joneswalden.com,
         jwdistribution@joneswalden.com;ljones@joneswalden.com;ahirsch@joneswalden.com;c
         parker@joneswalden.com;lbrown@joneswalden.com;lpineyro@joneswalden.com
   •     Henry F. Sewell hsewell@sewellfirm.com, hsewell123@yahoo.com
   •     Shawna Staton shawna.p.staton@usdoj.gov
   •     Thomas R. Walker thomas.walker@fisherbroyles.com


         This 30th day of December, 2020.
                                            ROBL LAW GROUP LLC

                                            /s/ Michael Robl
                                            Michael D. Robl
                                            Georgia Bar No. 610905
                                            Shannon D. McDuffie
                                            Georgia Bar No. 187808

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